           Case 2:21-cr-00571-DMG Document 26 Filed 04/22/22 Page 1 of 1 Page ID #:134
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                   CASE NUMBER:

                                                                              CR 21-571-DMG
                                             PLAINTIFF(S)
                             v.
                                                                     NOTICE OF MANUAL FILING
KENNETH ARSENIAN,                                                          OR LODGING
                                           DEFENDANT(S).

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April 22, 2022                                                Jeff Mitchell
Date                                                          Attorney Name
                                                              United States of America
                                                              Party Represented

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